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                         IN THE LINITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

CATHERINE BROWER,                                 )
                                                  )
                       Plaintili                  )
                                                  )
                                                  )
                                                  )
LUBBOCK COLTNTY HOSPITAL                          )
DISTRICT d/b/a University Medical Center,         )
                                                  )
                       Defendants.                )   Civil Action No. 5:22-CV-003-C


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       On this date, the Court considered Plaintills Motion for Partial Summary Judgment and

Defendant's Motion for Summary Judgment, along with the respective Responses.l

                                       I. BACKGROUND
       Plaintiflwas employed by Defendant in the capacity ofa staffregistered nurse in the

STAR Center (which provided intake for outpatient surgery and pre-registration for other tlpes

of surgery). On March 16,2020, Defendant suspended all non-essential surgical procedures as

part of the COVID-19 pandemic response and due to the Govemor's executive orders.

Defendant had to scramble to determine how to redeploy its nursing staff. One thing Defendant

did was create a COVID- l 9 call center that was staffed by registered nurses as part of their job

duties. The nurses in the call center would answer calls from the public about COVID-19.

Defendant and the various supervisors attempted to spread the work hours at the call center




        rLeave was not hrst sought prior to the filing of Plaintiffs Reply. Thus, the Reply was
not considered.
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among all the nurses competing for work hours during a period when most non-essential work

had been suspended.

       It is undisputed that Plaintiff suffers from Rheumatoid Arthritis ("RA") and at the time

was taking a medication to treat her RA that further caused her to have a compromised immune

system. Plaintiff also suffers from dyspnea (shortness of breath) and heart disease, along with

high blood pressure.

       As Defendant attempted to re-deploy its nursing staffto medical/surgical units in April of

2020 (still early in the pandemic response), Plaintiff informed Defendant that she was

immunocompromised and that she sought an altemative position. Defendant informed her that

there were no exceptions to putting registered nurses on the floor, except for pregnant women.

Plaintiff spoke with Defendant's Disability Management Coordinator, Sharon Doyle, and Doyle

informed Plaintiffthat the COVID-19 issues were under development and that Defendant had

never had to deal with such issues and was "leaming" as the pandemic went forward. Plaintiff

nevertheless filled out an ADA Accommodation Form, which she retumed to her supervisor on

April 17, 2020, along with her doctors' notes. In the accommodation request, Plaintiffs doctors

requested that Plaintiff not be assigned to a position requiring direct patient interaction due to her

high risk for developing severe illness from COVID-19. After review, Defendant agreed that

Plaintiff was not able to meet the requirements of floor nursing work and informed her that she

would not be required to work as a floor nurse.

        Plaintiff requested a full-time assignment to the call center. Doyle rejected that option

because the call center duties were not a permanent position and Doyle believed it "would only

be a temporary fix and then we would be right back to square one." (Pl.'s App. 116.) Defendant


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directed Plaintiff to consult with its Nurse Recruitment Department and the Human Resources

Department in an effort to find her a vacant position.2 During the search, Plaintiff was placed on

temporary administrative paid leave for 10 days. The efforts to find Plaintiff a vacant position

that would accommodate her health needs and prevent contact with possible COVID-19 infected

individuals proved unfruitfu [.

       Plaintilf alleges that Defendant misinterpreted her doctors' restrictions such that

Defendant attempted to locate a position that entailed no contact with other staffor employees, or

anyone who could be a vector for COVID-19. Plaintiff alleges that her doctors' requested

restrictions simply stated that she not be assigned to direct patient care.' After Defendant's

search for any open positions did not locate any that would fit Plaintiff s needs, Defendant

terminated Plaintiff s employment. Plaintiff requested that Defendant reconsider its decision by

allowing her to retum to the STAR Center if she could get her doctors to modiff their opinions

and allow it. Defendant's staff expressed reservations about the propriety of Plaintiff s doctors

changing their opinions to suit Plaintiffs objectives. In the end, Defendant left open the

possibility of any consideration of revised medical information.4 Plaintifffiled to charges of

discrimination with the Equal Employment Opportunity Commission. The first charge was filed




        2lt is
             unclear if any vacate positions existed during a time when most employment
opportunities dissolved during the early period ofthe pandemic.
        3A mistaken beliefby an employer as to any employee's work restrictions cannot amount
to cognizable discriminatory motive.
        oThere is no
                   admissible evidence, beyond speculation, as to how Plaintiff s doctors might
have "modifled" their requested restrictions upon her work and contact with others.

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following her termination and the second was filed in February of2021 after she was not re-hired

for several position to which she applied.

       Plaintiff has brought claims under the Americans with Disabilities Act for discriminatory

employment termination, failure to reasonably accommodate, and failure to hire for available

positions. Defendant seeks summary judgment on Plaintiff s claims and Plaintiff seeks summary

judgment on Defendant's affirmative defenses ofundue hardship and mitigation ofdamages.

                                         II. STANDARI)
       Summary judgment is appropriate only if "the pleadings, depositions, answers to

intenogatories, and admissions on file, together with the affidavits, if any," when viewed in the

light most favorable to the non-moving party, "show that there is no genuine issue as to any

material fact and that the moving party is entitled to judgment as a matter of law." Andersonv.

Liberty Lobby, |nc.,477 U.5.242,247 (1986) (intemal quotes omitted). A dispute about a

material fact is "genuine" ifthe evidence is such that a reasonable jury could retum a verdict for

the non-moving party. Id. at 248. In making its determination, the court must draw all justifiable

inferences in favor of the non-moving puty. Id. at 255. Once the moving party has initially

shown "that there is an absence ofevidence to support the non-moving party's case," Celotex

Corp. v. Calrett, 477 U.S. 317 ,325 (1986), the non-movant must come forward, after adequate

time for discovery, with significant probative evidence showing a triable issue of fact. Fed. R.

Civ. P. 56(e); State Farm Lde Ins. Co. v. Guttermqn,896 F.2d 116, 118 (5th Cir. 1990).

Conclusory allegations and denials, speculation, improbable inferences, unsubstantiated

assertions, and legalistic argumentation are not adequate substitutes for specific facts showing

that there is a genuine issue for trial. Douglass v. United Servs. Auto. Ass'n,79F.3d1415,1429


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(5th Cir. 1996) (en banc); SEC v. Recile, 10 F.3d 1093, 1 097 (5th Cir. 1993). To defeat a

properly supported motion for summary judgment, the non-movant must present more than a

mere scintilla of evidence. See Anderson,477 U.S. at 251. Rather, the non-movant must present

sufficient evidence upon which ajury could reasonably find in the non-movant's favor. Id.

                                            III. DISCUSSION
        Failure to Accommodate

        Plaintiff asserts a claim that Defendant failed or refused to make a reasonable workplace

accommodation for her disability. "A prima facie case for failure to accommodate requires that:

(1) the plaintiffis a qualified individual with a disability; (2) the disability and its consequential

Iimitations were known by the covered employer; and (3) the employer failed to make reasonable

accommodations for such known limitations." Credeur v. Louisiana, 860 F.3d 785,792 (5th Cir.

2017) (intemal quotations omitted). An employer, however, is not required to: (a) relieve an

employee ofessential functions ofthe position or create a new position. Burchv. City of

Nac o gdo che s, 17 4 F.3 d, 61 5, 621 (5th Cir. i 999).

        The Court finds that the evidence demonstrates that Plaintiff was at high risk for

developing severe illness resulting from COVID-19 due to her multiple comorbid conditions.

Further, the evidence clearly shows that Plaintiff and her doctors requested that she not be

assigned to work as a floor nurse. Although Plaintiff requested to be assigned to call center

duties, Defendant has pointed the Court to evidence indicating that the call center assignment

was not a "position" and was only a temporary duty that constituted a marginal fi.mction of the

scope ofnurses'job duties. Moreover, the call center was not a separate, recognized

department-it was simply staffed by the nurses as an opportunity for them to continue to work


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shifts during the early days of the COVID-19 pandemic when many main nursing duties were

placed on hold. Further, Plaintiffhas failed to direct the Court to admissible evidence that shows

any available, vacant "position" dedicated solely to the call center. Such a failure is fatal to

Plaintiff s claim. Defendant was not required, under the law, to create a special position just for

Plaintiff. See Gonzalez v. United Parcel Serv.,777 Fed. App'x. 735,738 (5th Cir. 2019). The

crux ofthis lawsuit is Plaintiffls subjective beliefthat the call center duties were "open

positions" that could be filled permanently. The evidence does not support such a claim. In fact,

Plaintifls response brief to Defendant's Motion clearly states "UMC hired no nurse only to be

assigned to the call center." (Pl.'s Resp. Br.at 19.) In essence, what Plaintiffsought was not to

be treated equally because of her alleged disabilities. Rather, her requested accommodation was

the creation ofa new position as a full-time call center nurse and to be preferentially placed into

such a position. There is no evidence before the Court that such a position existed, or that she

was denied such an available position. Instead, the evidence clearly shows that the call center

staffing was simply a duty that nurses could rotate into to obtain needed hours ofpay during an

uncertain time and an unprecedented pandemic. Defendant sought to prioritize call center duty

for certain nurses that were deemed essential to Defendant's function.s

       Defendant is entitled to summary judgment on this claim for the reasons argued in its

Motion.



       5The
            evidence indicates that ICU, med surgical, and OR nurses were given "first priority"
and that STAR Center nurses were given "second priority" for staffing the call center. It is
undisputed that Plaintifffell into the latter category. The evidence further indicates that
Defendant prioritized nurses with direct patient care because those were the nurses Defendant
was most concerned about retaining in view of the difficulties COVID-,l9 posed. (Def.'s App. at
s7.)

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       ADA Discrimination

       In an action for discriminatory termination under the ADA, an employee has the option to

present direct evidence of discrimination or proceed under the McDonnell Douglas burdel-

shiftinganalysis. EEOCv.LHCGrp., |nc.,773F.3d688,694(5thCir.2014)(citingMcDonnell

Douglas Corp. v. Green,4l1 U.S. 792 (1973)). That burden-shifting analysis first requires the

plaintiff to establish a prima facie case of discrimination. ,See EEOC v. Chevron Phillips Chem.

Co.,570 F.3d 606, 615 (5th Cir. 2009). To establish a prima facie case, the plaintiff must prove

that: (l) she has a disability; (2) she was qualified for thejob she was working; and (3) she was

subject to an adverse employment decision on account ofher disability. LHC Grp., lnc.,773

F.3dat697 (quotingZenor v. El Paso Healthcare Sys., Ltd.,l76 F.3d 847,853 (5th Cir. 1999)).

Ifthe plaintiffis successful in meeting this burden, then the defendant must provide a legitimate,

nondiscriminatory reason for the termination. See Chevron Phillips Chem. Co., 570 F.3d at 615.

Provided such a reason is proffered, the burden then shifts back to the plaintiffto show that the

proffered reason is pretextual. See id. Plaintiff has presented no direct evidence of

discrimination, and her response briefargues the elements ofa primafacie case, so the Court

examines this claim under the McDonnell Douglas analysis.

       Defendant further contends that Plaintiff was not qualified for the position she held.

Defendant argues thatjust because Plaintiffcould perform certain marginal tasks ofher position

(staffing the call center), she is not allowed to simply choose the tasks she is able to perform

from all the essential tasks ofa position. Defendant asserts that allowing Plaintiff to limit her

nursing duties to only working in the call center would require Defendant to relieve her of

essential functions of her position (direct patient contact). The Court agrees and finds that


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Plaintiffhas failed to create a genuine issue of material fact as to whether she was qualified for

the position held, or any position she later sought to obtain.6

       It is undisputed that Plaintiff s essential duties as a nurse included patient contact. It is

also undisputed that Plaintiff s risks could not be accommodated without relieving her ofdirect

patient contact. Defendant argues that to accommodate Plaintiff would have placed an undue

burden on Defendant because Plaintiff, as a nurse, could not perform the essential duties ofher

job without patient contact or being in contact with other employees that could be vectors for

COVID- I 9. Plaintiff has not directed the Court to admissible summary judgment evidence that

creates a genuine issue of material fact that Plaintiff remained "qualified" for thejob she

held-or any open, available position.T

       As already discussed above, even assuming that Plaintiffhas established a prima facie

case ofdisability discrimination by showing she was "qualified" for the position held or sought,

the Court finds that (l) Defendant has clearly demonstrated a legitimate, nondiscriminatory

reason for terminating Plaintiff; and (2) Plaintiffhas failed to produce any summary judgment

evidence to show that this proffered reason was a pretext for discrimination. As such, Det'endant

is entitled to summary judgment on this claim




       6while Plaintiff alleges that she was not hired for a position in February 2021 and that
this failure to hire is a separate act of discrimination, Plaintiff admits that she was not "fully
vaccinated" at the time she applied for the position. At any rate, the evidence shows that
Defendant had received sufficient applications from qualified intemal applicants. Plaintiff was,
thereforc, not considered for the position at STAR Center in filling Requisition #449.
        TPlaintiffhas failed to create a genuine issue of material fact that she was denied the
opportunity to fifi any open, available positions (during a time olgreat unce(ainty and when
"stay-at-home" orders were being issued), while being required by her doctors to not have direct
contact with any patients.

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       ADA Retaliation

       Finalty, Plaintiff is asserting a retaliation claim under the ADA. 42 U.S.C. $ 12203. To

establish a prima facie case ofretaliation under the ADA, a plaintiff must show that (1) she

participated in an activity protected by the ADA; (2) she suffered an adverse employment action;

and (3) a causal connection exists between the protective activity and the adverse action. Feis, v,

Louisiana,730F.3d 450,454 (5thCir.2013). Ifthe plaintiff can establish this prima facie case,

then the burden shifts to the employer to state a legitimate, non-discriminatory reason for the

adverse employment action; ilsuch a reason is offered, then the burden shifts back to the plaintiff

to demonstrate that the employer's reason is a pretext for retaliation. 1d. The plaintiff must show

that the adverse action would not have occurred "but for" the employer's retaliatory motive. 1d.

"In order to avoid summary judgment, the plaintiff must show'a conflict in substantial evidence'

on the question of whether the employer would not have taken the action 'but for' the protected

activity." Id. (quoting Long v. Eastfield College, 88 F.3d 300, 308 (5th Cir. 1996)).

       Plaintiff s ADA retaliation claim fails as a matter of law. Even assuming that Plaintiff

has established a prima facie case, the Court would still find in favor of Defendant on this claim

as a matter of law because (l) Defendant has clearly demonstrated a legitimate,

nondiscriminatory reason for terminating Plaintiff s employment; and (2) Plaintiff has failed to

produce any summary judgment evidence to show that this proffered reason was pretextual. But

most importantly, Plaintiffhas failed to create a genuine issue of material fact that she was

retaliated against in the termination ofher employment or denial of any "positions" for which she




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applied that would not have occured "but for" her protected activity.8 Defendant is entitled to

summary judgment on this claim.

                                      IV. CONCLUSION
       For the reasons stated, and essentially for the reasons argued by Defendant, Plaintiffls

Motion for Partial Summary Judgment is DENIED and Defendant's Motion for Summary

Judgment is GRANTED. Therefore, Plaintiffls claims are DISMISSED WITH PREJUDICE.

       SO ORDERED.

       Dated June   # ,ZOZ|.

                                                                    /?n
                                                 R. CU MINGS
                                             SENIOR LTNITED STA              ISTRICT JUDGE




       8The Court recognizes that Plaintiffand her doctors were fearful ofthe possible
consequences ofher working with direct contact with patients (or anyone who could be a vector
for COVID- l9). Likervise, the Court recognizes the difficulties faced by employers in retaining
qualified employees during such an unprecedented period in which employers were attempting to
navigate unknown risks and protect employees that were at high risk for severe complication       if
infected with COVID-19.

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